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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


ENCODITECH LLC,

             Plaintiff,                    C.A. NO. 18-cv-864-MN-MPT

      v.                                   PATENT CASE

QARDIO, INC.,                              JURY TRIAL DEMANDED

             Defendant.


              QARDIO, INC.’S OPENING BRIEF IN SUPPORT OF ITS
             MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM


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I.     NATURE AND STAGE OF PROCEEDINGS

       Encoditech LLC originally filed this lawsuit on June 9, 2018. On September 25, 2018,

Encoditech LLC filed an Amended Complaint accusing Defendant Qardio, Inc. of direct and

indirect infringement of “at least claim 7” of U.S. Patent No. 6,321,095 (“’095 Patent”). In

particular, Encoditech accuses the QardioArm product, which monitors blood pressure, heartrate,

and irregular heartbeats, of infringement because it connects wirelessly with the Qardio mobile

application.

II.    SUMMARY OF THE ARGUMENT

       Qardio respectfully requests that this Court dismiss all claims in Encoditech’s Amended

Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil procedure for failure to state a

claim upon which relief can be granted. The claims of the ’095 Patent are directed to the abstract

idea of sending and receiving information to establish a secure line of communication between

two points. But these claims are not a technological improvement, an inventive way of applying

conventional technology, or even new (as the patent’s specification acknowledges). See Fitbit,

Inc. v. AliphCom, 233 F. Supp. 3d 799, 810 (N.D. Cal. 2017) (“Establishing a dedicated line of

communication between two points is a broad and familiar concept concerning information

distribution that is untethered to any specific or concrete way of implementing it, which has been

employed in everything from secure military communications to garage door openers . . . and

properly precluded from patent protection.”) (quotation omitted).

       The claims of the ’095 Patent are not directed to an improvement in computer

functionality. Rather, they are directed to “the use of conventional or generic technology in a

nascent but well-known environment.” In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607,

612, 614 (Fed. Cir. 2016) (noting the specification “describes the [components] as either

performing basic computer functions such as sending and receiving data, or performing functions


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‘known’ in the art”). For example, the specification discloses that the alleged invention uses two

generic “stand-alone handsets,” any “suitable” multiple access protocol, and “any encryption

algorithm” to send and receive information over a radio-frequency (RF) band. ’095 Patent at

4:10-18, 17:8-9, 18:29-35. No particular non-conventional component or programming is either

claimed or disclosed. Instead, as the applicant acknowledged, the approach for providing

wireless communications described in the ’095 Patent “may be implemented in a variety of

ways” and “is not limited to any particular implementation.” ’095 Patent at 18:30-33.

Encoditech’s patent does no more than withdraw a basic idea (sending and receiving information

to establish a secure line of communication between two points) from the public domain without

disclosing any particularized application of that idea. Therefore, the ’095 Patent is invalid under

35 U.S.C. § 101 for failure to claim patent-eligible subject matter.

       Encoditech also fails to state a claim for direct infringement. The Amended Complaint

alleges direct infringement of Claim 7, yet fails to allege that any Qardio product or device meets

the limitation of “provid[ing] [an] encrypted message to the second mobile station.” There is no

direct infringement unless the patentee can “show that the accused device contains each and

every limitation of the asserted claims.” Ericsson, Inc. v. D-Link Sys., 773 F.3d 1201, 1215 (Fed.

Cir. 2014). Encoditech’s claim of direct infringement should thus be dismissed because alleged

infringement of each and every limitation of Claim 7 is absent from the Amended Complaint.

       Resolving these issues does not require discovery or formal claim construction. To avoid

waste of judicial and party resources unnecessarily litigating invalid patents, Qardio thus

requests that the Court dismiss the Amended Complaint. FED. R. CIV. P. 12(b)(6).




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III.   STATEMENT OF FACTS

       A.       Background of the ’095 Patent and Claim 7

       The ’095 Patent, entitled “Wireless Communication Approach,” issued on November 20,

2001, from an application filed on March 26, 1999. The asserted claims are generally directed to

a method and system for establishing a secure wireless communication between two devices

(e.g., a “handshake”). Claim 7 of the ’095 Patent, set forth below, is representative of the claims.

The USPTO issued a Certificate of Correction regarding Claim 7 of the ’095 Patent on May 23,

2017. Claim 7 now reads as follows:

       7. A wireless communication system comprising:

            a first mobile station; and

            a second mobile station;

            wherein the first mobile station is configured to select a first portion of a radio
               frequency (RF) band to carry communications between the first mobile
               station and the second mobile station,

            transmit a first request signal on a first sub-portion of the first portion of the RF
                band directly to the second mobile station to request communications
                between the first mobile station and the second mobile station,

            establish, in response to receiving a first acknowledge signal from the second
                mobile station, a direct communication link between the first mobile station
                and the second mobile station on the first portion of the RF band,

            receive from the second mobile station a public encryption key generated using
                a private encryption key associated with the second mobile station,

            generate a message containing a common encryption (Ckey);

            encrypt the message using the public encryption key to generate an encrypted
               message,

            provide the encrypted message to the second mobile station so that the second
               mobile station may decrypt the encrypted message using the private
               encryption key and extract the Ckey,




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            wherein, messages exchanged between the first and second mobile stations are
               encrypted using the Ckey; and

            wherein the second mobile station is configured to transmit, in response to
               receiving the first request signal from the first mobile station, the first
               acknowledge signal on a second sub-portion of the first portion of the RF
               band directly to the first mobile station to acknowledge the first request
               signal.

       ’095 Patent at Claim 7.

       B.      The ’095 Patent

       Claim 7 of the ’159 Patent can be broken down into two main components: (1) a first

mobile station, and (2) a second mobile station. A mobile station is generically described in the

specification as “a stand-alone handset, similar to a cellular telephone, integrated into a portable

computing device, or installed in an automobile or airplane.” Id. at 18:32-35. The mobile stations

need only include “a transmitter 502” to “transmit[] information,” “a receiver 504” to “receive[]

information,” and “processing logic 506” to “perform[] the various communication processing

functions.” Id. at 18:36-49. The applicant made clear that the transmitter, receiver, and

processing logic were not limited to any particular implementation. Id. at 18:49-52 (The

components “may be implemented in hardware circuitry, computer software, or a combination of

hardware circuitry and computer software.”).

       The applicant did not provide any technical details on how the wireless communication is

established beyond what was known in the prior art. Instead, the applicant indicated that any

“suitable” multiple access communication protocol could be used to implement his purported

invention, including Frequency Division Multiple Access (FDMA), code division multiple

access (CDMA), time division multiple access (TDMA), or any composites thereof. Id. at 4:12-

18.




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       The applicant used only high-level functional language, like “takes on the role,”

“identifies,” “pages,” “examines,” and “looking for,” to describe how the purported invention

establishes a wireless communication session using a composite FDMA/TDMA protocol (or any

other multiple access protocol). For example, the applicant explained that one mobile station

“takes on the role of a pseudo base station (PBS) and the other participating mobile stations are

referred to [] as terminating mobile stations (TMSs).” Id. at 6:60-64. When a PBS wants to

establish a communication session, it “identifies an idle circuit on which to place a page to

TMS.” Id at 7:46-49.

       Despite the ’095 Patent’s lengthy explanation of conventional multiple access

communication protocols and signaling techniques, no specific protocol or signaling technique is

even mentioned in Claim 7. Instead, Claim 7 is described only in generic functional terms. For

example, one device (i.e., the first mobile station) sends a message that it would like to

communicate with another device (i.e., the second mobile station). The second device receives

that message and sends a second message that it would like to communicate with the first device.

No technical details are disclosed, much less claimed, as to how these processes are

accomplished.

       The applicant further discussed using “[a] variety of security mechanisms” to provide

security for the wireless communication between the two mobile stations. Id. at 15:23-26. The

’095 Patent explains using “conventional” public key encryption. Id. at 15:31-33. For this kind of

encryption, both mobile stations create their own private key and a public key based off of their

private key. Id. at 15:33-36. When one mobile station wants to communicate with another, it uses

the public key it received from the target station to encrypt the message, then sends it. See id. at

15:37-44. The recipient mobile station decrypts the message using its exclusive private key. See




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id. Since the public key is derivative of the recipient’s private key, only the recipient will be able

to decode the message. See id. at 15:44-51.

       The ’095 Patent also uses a variant of “conventional public key/private key encryption”

called “common key encryption.” Id. at 15:52-53. It is “similar to a conventional public

key/private key encryption,” but the public key is replaced by a “common key,” or “Ckey.” Id. at

15:62-65. The encryption process is the same as described above for public key/private key

encryption, but the message encrypted with the public key will contain the Ckey that it wishes to

replace the public key for further communication. See id. at 15:52-67. The specification indicates

that “[t]he common key encryption approach may be implemented with any encryption

algorithm.” Id. at 17:8-9 (emphasis added). While giving a thorough explanation of common

encryption techniques, the ’095 Patent adds nothing new to cryptology. Claim 7 recites using a

generic encryption technique to establish a secured wireless communication session.

Specifically, the first mobile station, after a quick handshake to establish a communication link,

receives the second mobile station’s public key and sends back a Ckey encrypted by the public

key. The second mobile station decrypts with its private key and extracts the Ckey. Further

messages between the first and second mobile stations are encrypted using the Ckey.

       In other words, Claim 7 recites a generic handshaking technique with an ordinary

encryption procedure to establish secure communications between two devices using any stand-

alone handset, any protocol, any signaling technique, and any encryption algorithm.

IV.    ARGUMENT

       A.      Legal Standard

               1.      This Case Should Be Disposed of Through Rule 12(b)(6)

       Under Rule 12(b)(6), a party may move to dismiss a complaint that fails to state a claim

upon which relief can be granted. To survive a Rule 12(b)(6) motion, a complaint “must allege


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facts that ‘raise a right to relief above the speculative level on the assumption that the allegations

in the complaint are true (even if doubtful in fact).’” Victaulic Co. v. Tieman, 499 F.3d 227, 234

(3rd Cir. 2007) (citation omitted). Although factual allegations are taken as true, legal

conclusions are given no deference—those matters are left for the court to decide. See Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (noting the tenet that allegations are taken as true on a motion to

dismiss “is inapplicable to legal conclusions”). “[W]hen the allegations in a complaint, however

true, could not raise a claim of entitlement to relief [as a matter of law], this basic deficiency

should . . . be exposed at the point of minimum expenditure of time and money by the parties and

the court.” Cuvillier v. Sullivan, 503 F.3d 397, 401 (5th Cir. 2007) (internal citations and

quotations omitted).

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J.,

concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e

perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a

validity determination under § 101.”).

               2.      The Law of 35 U.S.C. § 101

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101.

Also, the law recognizes three exceptions to patent eligibility: “laws of nature, physical

phenomena, and abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis

added). Abstract ideas are ineligible for patent protection because a monopoly over these ideas


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would preempt their use in all fields. See Bilski, 561 U.S. at 611-12. In other words, “abstract

intellectual concepts are not patentable, as they are the basic tools of scientific and technological

work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

       Determining whether a patent claim is impermissibly directed to an abstract idea involves

two steps. First, the court determines “whether the claims at issue are directed to a patent-

ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014).

Second, if the claim contains an abstract idea, the court evaluates whether there is “an ‘inventive

concept’—i.e., an element or combination of elements that is sufficient to ensure that the patent

in practice amounts to significantly more than a patent upon the ineligible concept itself.” Id.

(internal quotations and citations omitted).

       Transformation into a patent-eligible application requires “more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Also, a claim is not meaningfully

limited if it includes only token or insignificant pre- or post-solution activity—such as

identifying a relevant audience, category of use, field of use, or technological environment.

Mayo, 132 S. Ct. at 1297-98, 1300-01. Finally, “simply appending conventional steps, specified

at a high level of generality, to laws of nature, natural phenomena, and abstract ideas cannot

make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300.

       B.      The ’095 Patent is invalid under 35 U.S.C. § 101.

       Encoditech’s Amended Complaint should be dismissed. The claims of the ’095 Patent are

invalid under 35 U.S.C. § 101 because they fail both prongs of the Alice test. Each of the claims

is directed to the abstract idea of sending and receiving information to establish a secure line of

communication between two points. Abstract ideas are not eligible for patenting. None of the

claims contains an “inventive concept sufficient to ensure that the patent in practice amounts to


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significantly more than a patent upon the ineligible concept itself.” See Alice, 134 S. Ct. at 2355

(emphasis added). Because Encoditech has failed to state a claim upon which relief may be

granted, Qardio respectfully requests that the Court grant its motion and dismiss this case with

prejudice. FED. R. CIV. P. 12(b)(6).

               1.      Alice Step 1: The claims are directed to an abstract idea.

       In determining patent eligibility under § 101, the Court must first determine whether the

claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any plausible reading, the

claims of the ’095 Patent are directed to an unpatentable, abstract idea because they claim

nothing more than the “longstanding,” “routine,” and “conventional” concept of sending and

receiving information to establish a secure line of communication between two points. See Alice,

134 S. Ct. at 2356; Bilski, 561 U.S. at 611; see also Fitbit, 233 F. Supp. 3d at 810.

                       (a)     Claim 7 of the ’095 Patent is directed to an abstract idea.

       Asserted Claim 7 of the ’095 Patent is representative of the claims. Content Extraction and

Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F. 3d 1343, 1349 (Fed. Cir. 2014) (Where

claims are “substantially similar and linked to the same abstract idea,” courts may look to

representative claims in a § 101 analysis.). In assessing whether this claim is directed to an abstract

idea, the Court must look past the claim language for the purpose of the claim to determine what

the invention is trying to achieve. Morales v. Square, Inc., 75 F. Supp. 3d. 716, 725 (W.D. Tex.

2014), aff’d, 621 F. App’x 660 (Fed. Cir. 2015), cert. denied, 136 S. Ct. 1461 (2016). All Claim 7

is “trying to achieve” is a mechanism to establish a secure line of communication between two

points, consisting of nothing more than a set of basic ideas like selecting a communication channel

using a conventional channelization protocol, sending information (i.e., a request) on a portion of

that channel, receiving information (i.e., a response) on another portion of the same channel, and

using a public key encryption technique to secure communications.


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       With the generic terminology removed (i.e., “wireless communication system,” “first

mobile station,” “second mobile station,” “radio frequency (RF) band,” “transmit,” and “public

encryption key”), Claim 7 conceivably could cover any generic process of establishing an

encrypted communication session between two points. This is especially true given the purely

functional nature of the claim language. For example, Plaintiff’s claim could cover the following

scenario: (1) using one medium to make an initial contact (e.g., sending an email to a friend and

asking in the email that the friend call you back on your cellphone); (2) using a second medium

to respond (e.g., the friend acknowledging receipt of the initial contact by calling you on your

cellphone); (3) receiving an encryption key (e.g., the friend giving you a secret code); and (4)

sending back a different secret key (e.g., using the secret code to send a message telling your

friend you’d rather use this different secret code). Such a broad concept is not patent eligible

because it has “no particular concrete or tangible form.” Ultramercial, 772 F.3d at 715.

       The applicant instructed that his purported invention was “not limited to any particular

implementation.” ’095 Patent at 18:29-32 (emphasis added). Furthermore, the specification

indicates that “[t]he common key encryption approach may be implemented with any encryption

algorithm,” id. at 17:8-9 (emphasis added). These statements, coupled with the broad functional

language in Claim 7, confirm that Encoditech’s claims cover only the resulting system the

applicant envisioned, not how to implement it, much less how to do so in any non-conventional

manner. See Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015)

(concluding that claim not directed to patent-eligible subject matter where “[t]he mechanism for

maintaining the state is not described, although this is stated to be the essential innovation.”).

       The applicant’s own characterizations demonstrate that the claimed components do not

“improve the functioning of the computer itself.” Alice, 134 S. Ct. at 2359. For example, in




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Enfish, the Federal Circuit distinguished the claims from others that “simply add[ed]

conventional computer components to well-known business practices,” holding instead that

“they [we]re drawn to a specific improvement to the way computers operate.” Enfish, LLC v.

Microsoft Corp., 822 F.3d 1327, 1336 (Fed. Cir. 2016). In particular, the unconventional

structure of the database resulted in “increased flexibility, faster search times, and smaller

memory requirements.” Id. at 1337. Unlike Enfish, nothing in the claims of the ’095 Patent

shows any unconventional methodology that would amount to a “specific improvement in the

way computers operate.” Id. at 1336. Therefore, the focus of the ’095 Patents is not “on [a]

specific asserted improvement in computer capabilities” but instead “on a process that qualifies

as an ‘abstract idea’ for which computers are invoked merely as a tool.” Id. at 1336.

       By only claiming the desired result—sending and receiving information to establish a

secure line of communication between two points—without describing any specific roadmap for

doing so, Claim 7 of the ’095 Patent falls short of claiming eligible subject matter under § 101.

See also Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir. 2016)

(holding that claims were directed to an abstract idea where they claimed “the function of

wirelessly communicating regional broadcast content to an out-of-region recipient, not a

particular way of performing that function”). And because the claimed system can be

implemented using “any stand-alone handset,” any “suitable” multiple access communication

protocol, and “any encryption algorithm,” the ’095 Patent risks preempting all automated

methods or systems for establishing a secure line of communication between two points. See,

e.g., Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex.

2014) (finding “preemptive effect . . . broad” where “the claims [were] largely functional in

nature, they [did] not provide any significant description of the particular means by which the




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various recited functions are performed,” and “[a]ll that [was] disclosed [was] the ultimate

objective”).

                       (b)     Courts have found similar claims to be abstract.

       Courts have found similar patent claims to be directed to abstract ideas. For example, in

Two–Way Media, the patents at issue “relate[d] to a system for streaming audio/visual data over

a communications system like the internet.” Two-Way Media Ltd. v. Comcast Cable Commc’ns,

LLC, 874 F.3d 1329, 1333 (Fed. Cir. 2017). The claimed “multicasting” system “provid[ed] a

way to transmit one packet of information to multiple recipients” without overloading the

network. Id. In its Alice step one analysis, the Federal Circuit affirmed the district court’s finding

that that the patentee’s “method for routing information” was directed to the abstract idea of

“(1) sending information, (2) directing the sent information, (3) monitoring the receipt of the sent

information, and (4) accumulating records about receipt of the sent information.” Id. at 1337-38.

The Federal Circuit highlighted that the patent used “result-based functional language” like

“converting,” “routing,” “controlling,” “monitoring,” and “accumulating records,” without

“sufficiently describ[ing] how to achieve these results in a non-abstract way.” Id.

       Similarly, the claims held abstract in Cellspin Soft were directed to an application on a

Bluetooth-enabled mobile device assisting a Bluetooth-enabled data capture device to publish

data on one or more websites. Cellspin Soft, Inc. v. Fitbit, Inc., et al., 316 F. Supp. 3d 1138, 1144

(N.D. Cal. 2018). Despite their length, the court found that the claims were directed to the

abstract idea of “a method of acquiring, transferring, and publishing data and multimedia content

on one or more websites.” Id. at 1150. The Cellspin Soft court likened the claims to those in TLI,

stating, “[t]he [asserted] Patent is ‘not directed to a specific improvement to computer

functionality’ but merely utilizes generic computer hardware and software components, namely a




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‘ubiquitous mobile phone,’ paired Bluetooth connection, event notifications, ‘fairly widespread’

personal digital assistant, and ‘general purpose computers and computing devices’ to automate

the process of transmitting multimedia content from a data capture device to one or more

websites.” Id. (citation omitted). The claims were “unlike Enfish” because they did “not recite a

‘specific . . . structure’ of computer components used to carry out the purported improvement in

computer functionality,” but instead disclosed that the claimed method and system “may be

implemented’ . . . through generic hardware and software.” Id. at 1151 (citation omitted).

       Digital Media examined claims directed to a system for providing protected content over

multimedia networks. Digital Media Techs., Inc. v. Hulu, LLC, No. 4:16cv245-MW/CS, 2017

WL 4750705, at *1 (N.D. Fla. July 3, 2017). Like the private, public, and common keys of Claim

7, the claim in Digital Media protected content by, inter alia, “a public key associated with the

client device,” a content license “comprising a content key,” and “a private key associated with

the client device . . . .” Id. at *2. The court found the single independent claim abstract and said it

could be described “as being directed to the abstract idea of delivering content secured with

licenses and encryption.” Id. at *5.

       The idea underlying Claim 7 of the ’095 Patent is just as abstract as that of the Two-Way

Media, Cellspin Soft, and Digital Media claims. Claim 7 does not include any specific limitations

or steps regarding a “specific structure” of computer components used to carry out the abstract

idea of establishing a secure line of communication between two points. See Cellspin Soft, 316 F.

Supp. 3d at 1151. Rather, Claim 7 uses results-based functional language like “select[ing]” a

communication line, “transmit[ting]” information over a portion of the selected communication

line, “generating,” “encrypting,” and “providing” a message, and then “acknowledge[ing]”

receipt of that communication over a second portion of the selected communication line. Claim 7




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is abstract because it does “not sufficiently describe how to achieve these results in a non-

abstract way.” Two-Way Media, 874 F.3d at 1337. Claim 7 cannot be meaningfully distinguished

from the claims in Two-Way Media, Cellspin Soft, or Digital Media.

               2.      Alice Step 2: The claims do not contain an inventive concept amounting
                       to significantly more than the abstract idea.

       Because Claim 7 is directed to an abstract idea, the Court must next determine whether it

contains an “inventive concept sufficient to transform the claimed abstract idea into a patent

eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To pass this test,

Claim 7 “must include additional features” that “must be more than well-understood, routine,

conventional activity.” Ultramercial, 772 F.3d at 715 (quotation omitted). Here, Claim 7 is

broadly generic and does not contain meaningful limitations that would restrict it to a non-

routine, specific application of the abstract idea.

                       (a)     Claim 7 contains no inventive concept to transform the
                               abstract idea into patent-eligible subject matter.

       Although the stated goal of the ’095 Patent is to provide an approach for wireless

communications “that does not suffer from the limitations of the prior approaches,” ’095 Patent

at 2:8-10, not a single technical improvement is disclosed, much less claimed. Instead, Claim 7 is

described only at a high level, consisting of generic functional language like “configured to

select” a first portion of a RF band, “transmit” information over the first portion of the selected

RF band, “receive” an encryption key, “generate,” “encrypt,” and “provide” a message, and then

send an “acknowledgement” signal over a second portion of the selected RF band. To

accomplish these steps, Claim 7 requires a “first mobile station” and a “second mobile station,”

which can be virtually any “stand-alone handset, similar to a cellular telephone, integrated into a

portable computing device, or installed in an automobile or airplane.” Id. at 18:32-35. Its

encryption method “may be implemented with any encryption algorithm.” Id. at 17:8-9. And,


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according to the specification, any “suitable” multiple access protocol or methodology may be

used to send and receive information over an RF band. Id. at 4:15-18.

       While the specification describes the structure of a composite conventional

channelization protocol, like FDMA/TDMA, nothing in either Claim 7 or the specification

discloses how the first and second mobile stations must be configured in any manner, much less

an inventive one. Instead, the claim uses results-based functional language like “select,”

“transmit,” and “acknowledge.” And the specification fares no better, merely stating that the first

mobile station “identifies” an idle channel, id. at 7:46-49, and then “places” the identifier (e.g.,

the MSID) of both stations on the signaling slot, id. at 7:59-63. The second mobile station

“examines” the signaling slot of various sub-frames “looking for its own MSID.” Id. at 8:9-10.

When the second mobile station finds its own MSID, the second mobile station places an

“acknowledge signal” on another slot of the same circuit. Id. at 8:16-20. The mobile stations thus

identify a preferred communication channel and acknowledge that communications will occur on

that channel. Further details are neither claimed nor disclosed.

       There is simply nothing “inventive” about using a known process (e.g., FDMA/TDMA)

to send and receive data in order to establish a secure communications line between two points.

See OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1363 (Fed. Cir. 2015) (recognizing

that “sending a first set of electronic messages over a network” is a routine conventional

computer function). Moreover, the abstract functional descriptions in Claim 7 are devoid of any

technical explanation as to how to implement the purported invention in an inventive way. See In

re TLI, 823 F.3d at 615 (claims failed Alice’s step 2 where specification limited its discussion of

“additional functionality” of conventional components “to abstract functional descriptions

devoid of technical explanation as to how to implement the invention”). Nothing in Claim 7




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requires any inventive algorithm or data structure, much less an improved computer component.

See Fitbit, 233 F.Supp.3d at 812 (“The various steps of transmitting or receiving information and

how they are accomplished are also generic—the claims recite these steps only functionally and

require no inventive algorithm or data structure for performing them.”).

       Courts have repeatedly held that the presence of generic hardware and processing like the

kind recited in Claim 7 of the ’095 Patent does not make an otherwise abstract idea patent-

eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a

computer receives and sends the information over a network—with no further specification—is

not even arguably inventive.”); Two-Way Media, 874 F.3d at 1339 (finding no inventive concept

when “[n]othing in the claims . . . requires anything other than conventional computer and

network components operating according to their ordinary functions”); Cellspin Soft, 2018 WL

1610690, at *8 (finding that the asserted claims “merely provide a generic environment in which

to carry out” the abstract ideas of acquiring, transferring, and publishing data and “thus fail to

supply an inventive concept”); see also Bancorp, 687 F.3d at 1276-77. In addition, an “abstract

idea does not become nonabstract by limiting the invention to a particular field of use or

technological environment, such as [communications over an RF band].” Intellectual Ventures I

LLC v. Capital One Bank U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).

       The steps dealing with encryption in Claim 7 add no inventive concept. Public key

encryption is ubiquitous. See, e.g., Paone v. Broadcom Corp., No. 15-CV-0596-BMC-GRB,

2015 WL 4988279, at *7 (E.D.N.Y. Aug. 19, 2015) (“Encryption, in general, represents a basic

building block of human ingenuity that has been used for hundreds, if not thousands, of years.”)

(citation omitted); Bruce Schneier, APPLIED CRYPTOGRAPHY, 4 (John Wiley & Sons, 2d ed.

1996) (explaining the basics of public key encryption, also known as asymmetric encryption).




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Claims describing general methods of public key encryption routinely fail Alice step 2. For

instance, the court in Intellectual Ventures II found claim features relating to encryption using

corresponding encryption and decryption keys “fail[ed] to transform the . . . abstract idea into

patent-eligible subject matter.” Intellectual Ventures II v. JP Morgan Chase & Co., 2015 WL

1941331, at *14 (S.D.N.Y. Apr. 28, 2015). The encryption feature “fail[ed] to describe anything

beyond well-understood, routine, conventional activity.” Id. (citation omitted). Like Intellectual

Ventures II, Claim 7 adds nothing inventive to routine public-key encryption because it only

adds a pair of encryption keys to an already abstract idea.

       Claim 7 is similar to the single independent claim in Digital Media and equally as non-

inventive. The alleged invention in Digital Media was a way for a server to securely send

information, like a movie, over the internet to a client’s device. Digital Media Techs., Inc. v.

Hulu, LLC, No. 4:16cv245-MW/CS, 2017 WL 4750705, at *2 (N.D. Fla. July 3, 2017). It is

instructive to look at how closely Claim 7 of the ’095 Patent follows the single independent

claim from Digital Media. First, a server (e.g., a first mobile station) receives authentication

information and a request for a movie from the client’s device (e.g., a second mobile station)

over a network. Id. After validating authentication, the server receives a request for a content

license, which contains a content key (e.g., Ckey). Id. at *2-*3. The server encrypts the content

license and sends it to the client’s device (e.g., encrypting the message with the Ckey with the

public key and sending it to the second mobile station). Id. at *2. Finally, the client’s device uses

its private key to decrypt the content license and extracts the content key (e.g., decrypting the

message using the private key and extracting the Ckey). Id. at *2-*3.

       The Digital Media court found that each step was “well-understood, routine, and

conventional” and that “it is nothing new for servers and clients to send requests to each other . .




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. [n]or is it any more inventive to incorporate asymmetric/public-key encryption into an

authentication system.” Id. at *5. Nor is it inventive for two mobile stations to use basic

encryption to send and receive information between two points. The only perceived difference

between the ’095 Patent and the one in Digital Media is that the content key would now take the

place of the public key for purposes of encryption. This only has the effect of assigning a new

public key for purposes of encryption and adds nothing new to public key encryption techniques.

Just because the ’095 Patent puts a well-known concept into wireless communication does not

make it anything less than a basic, non-inventive concept. See id. at *7 n.11 (“The concept of

delivering content secured with licenses and encryption is simply that—a concept.”).

       This case is thus unlike Berkheimer, where the Federal Circuit noted that the specification

explicitly “describe[d] an inventive feature that store[d] parsed data in a purportedly

unconventional manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369 (Fed. Cir. 2018). The

Federal Circuit then examined whether the improvements described in the specification were

included in the claims. For those claims where the inventive feature in the specification was

“captured in the claims,” the Federal Circuit found a “factual dispute regarding whether the

invention describe[d] well-understood, routine, and conventional activities.” Id. But where the

claims did not recite the purportedly inventive features described in the specification, the Federal

Circuit concluded that they were directed to patent ineligible subject matter under § 101. Id.

Here, in contrast, there is no need for fact discovery at all because neither the claims nor the

specification describes any unconventional components or the use of generic components in

some unconventional manner. The claims therefore fail Alice’s second step because they contain

no inventive features, and no amount of fact discovery can change that.




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       The recited limitations are insufficient to add “significantly more” to the abstract idea.

Because it is altogether devoid of any “inventive concept,” Claim 7 of the ’095 Patent is thus

patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359-60.

               3.      The remaining claims are also abstract

       The remaining claims of the ’095 Patent relate to the same abstract concept of sending

and receiving information in order to establish a secure line of communication between two

points. The only differences are immaterial in the context of a § 101 analysis and relate to (i)

adding a third and/or fourth mobile station (dependent claims 2, 3); (ii) specifying the type of

conventional multiple access communication protocol to be used (dependent claim 4); (iii)

assigning a third and fourth portion of the RF band to be used to send and receive data

(dependent claim 5); and (iv) selecting a portion of the RF band from a “plurality of portions” of

the RF band (claim 6).

       Specifying the number of RF bands is a token or insignificant pre-solution activity

insufficient to transform the abstract idea into patent-eligible subject matter. See Mayo, 132 S.

Ct. at 1297-98, 1300-01. So too is the claims’ identification of additional generic components—

particularly because there is no disclosure of how any of the generic components (e.g., a third

and fourth mobile station) must be configured in any “inventive” manner to accomplish the

desired results. See Internet Patents, 790 F.3d at 1348.

       None of these additional features amounts to an inventive feature or renders the claims

any less abstract. Regardless of their form, therefore, all of the claims of the ’095 Patent fail both

prongs of Alice because they are directed to an abstract idea and recite no inventive concept.

Alice, 134 S. Ct. at 2355, 2357.




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       C.      The Direct and Indirect Infringement Claims Should Be Dismissed for
               Failure to Allege Direct Infringement

       Encoditech’s claims of direct and indirect infringement fail because the Amended

Complaint fails to allege that any Qardio system possesses each and every limitation recited in the

asserted claim. Claim 7 of the ’095 Patent requires the first mobile station to “provide the encrypted

message to the second mobile station.” ’095 Patent at Claim 7. This limitation is missing entirely

from the Amended Complaint. There is no direct infringement unless “the accused device contains

each and every limitation of the asserted claims.” Ericsson, Inc. v. D-Link Sys., 773 F.3d 1201,

1215 (Fed. Cir. 2014) (emphasis in original). Encoditech also alleges indirect infringement of

Claim 7 in Paragraph 24 of the Amended Complaint, but there must be direct infringement for

there to be indirect infringement. Dkt. No. 15 at ¶ 24; see Broadcom Corp. v. Qualcomm Inc., 543

F.3d 683, 697–98 (Fed. Cir. 2008) (citations omitted) (To demonstrate inducement of

infringement, the patentee must establish “first that there has been direct infringement.”). Because

Encoditech has failed to allege that any Qardio system or device practices each limitation of the

’095 Patent, it has not stated a valid claim of direct infringement, much less indirect infringement,

so all of its infringement allegations should be dismissed.

V.     CONCLUSION

       For the foregoing reasons, Qardio respectfully requests that the Court dismiss

Encoditech’s Amended Complaint for failure to state a claim upon which relief can be granted.

Because leave to amend would be futile, Qardio requests dismissal with prejudice.




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Dated: October 9, 2018       Respectfully submitted,

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